        Case 4:15-cr-00101-JM           Document 451      Filed 06/27/16       Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA


V.                                NO. 4:15CR00101-JM-20

QUANEISHA BOWENS

              ORDER MODIFYING CONDITIONS OF PRETRIAL RELEASE

       The parties appeared before the Court on June 27, 2016 for a bond hearing. On

November 17, 2015, the Court entered an order setting conditions of pretrial release for

defendant Quaneisha Bowens (Doc. No. 215). On February 22, 2016, the United States filed a

motion to revoke bond (Doc. No. 296) based on Bowens’ alleged failure to comply with certain

conditions of release, and a hearing was held on that motion March 1, 2016. Bowens was

remanded to the custody of the Attorney General at that time for a psychiatric examination. That

examination has been completed, and Bowens has been returned to the custody of the U.S.

Marshal Service. The parties then filed a joint motion for a bond hearing (Doc. No. 433), and

the hearing took place June 27, 2016.

       At the hearing, the parties proposed that certain conditions of pretrial release be

modified, and the Court agrees that such modifications are appropriate. Bowens’ mother Alicia

Davis is appointed the third party custodian for Bowens. Bowens is placed on home detention at

Davis’ home in Junction City, Arkansas, and is authorized to leave only to go to work, attend

church, travel to Little Rock to meet with her attorney, meet with her probation officer, and

participate in mental health treatment. The conditions of release are also modified to prohibit

Bowens from consuming any alcohol.
       Case 4:15-cr-00101-JM         Document 451        Filed 06/27/16     Page 2 of 2




       IT IS THEREFORE ORDERED that the motion to revoke bond (Doc. No. 296) is

denied, and the motion for bond hearing (Doc. No. 433) is granted. The conditions of pretrial

release for defendant Quaneisha Bowens are hereby modified as set forth in this Order this 27th

day of June, 2016.




                                                    ___________________________________
                                                    PATRICIA S. HARRIS
                                                    UNITED STATES MAGISTRATE JUDGE




                                                2
